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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA




 SECURITIES AND EXCHANGE
 COMMISSION,

                Plaintiff,
                                                 Civil Action No. 1:23-cv-01599-ABJ
        v.

 BINANCE HOLDINGS LIMITED, et al.,

                Defendants.




             [PROPOSED] ORDER GRANTING MOTION FOR ADMISSION OF
                 ATTORNEY ANDREW RHYS DAVIES PRO HAC VICE

       This Court has reviewed the Motion for Admission of Attorney Andrew Rhys Davies Pro

Hac Vice. Upon consideration of that motion, the Court grants attorney Andrew Rhys Davies

pro hac vice admission to this Court.

       It is so ORDERED on this ___ day of ____________________, 2023.




                                          The Honorable Amy Berman Jackson
                                          United States District Judge
